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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-CIV-62438-RAR

  ANITA JAIRAM, individually and
  on behalf of all others similarly situated,

         Plaintiff,

  v.

  COLOURPOP COSMETICS, LLC,

        Defendant.
  ______________________________/

                 ORDER PRELIMINARILY APPROVING CLASS ACTION
               SETTLEMENT AND CERTIFYING THE SETTLEMENT CLASS

         THIS CAUSE comes before the Court on Plaintiff’s Unopposed Motion for Preliminary

  Approval of Class Action Settlement [ECF No. 49], filed on April 10, 2020. Plaintiff Anita Jairam

  and Defendant Colourpop Cosmetics, LLC have agreed to settle this action pursuant to the terms

  and conditions set forth in an executed Settlement Agreement and Release (“Settlement”) [ECF

  No. 49-1]. The Parties reached the Settlement through arm’s-length negotiations with the help of

  a mediator, Ted E. Bandstra of JAMS. Pursuant to the Settlement, subject to the terms and

  conditions therein and subject to Court approval, Plaintiff and the proposed Settlement Class will

  fully, finally, and forever resolve, discharge, and release their claims.

         The Settlement has been filed with the Court, and Plaintiff and Class Counsel have filed

  an Unopposed Motion for Preliminary Approval of Class Settlement. Upon considering the

  Motion, the Settlement and all exhibits thereto, the record in these proceedings, the representations

  and recommendations of counsel, and the requirements of law, the Court finds that: (1) this Court

  currently has jurisdiction over the subject matter and the Parties to this Action; (2) the proposed

  Settlement Class meets the requirements of Federal Rule of Civil Procedure 23 and should be

  certified for settlement purposes only; (3) the persons and entities identified below should be
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  appointed Class Representative and Class Counsel; (4) the Settlement is the result of informed,

  good-faith, arm’s-length negotiations between the Parties and their capable and experienced

  counsel, and is not the result of collusion; (5) the Settlement is within the range of reasonableness

  and should be preliminarily approved; (6) the proposed Notice program and proposed forms of

  Notice satisfy Federal Rule of Civil Procedure 23 and constitutional due process requirements, and

  are reasonably calculated under the circumstances to apprise the Settlement Class of the pendency

  of the Action, class certification, the terms of the Settlement, Class Counsel’s application for an

  award of attorneys’ fees and expenses (“Fee Application”) and request for a Service Award for

  Plaintiff, and their rights to opt-out of the Settlement Class or object to the Settlement, Class

  Counsel’s Fee Application, and/or the request for a Service Award for Plaintiff; (7) good cause

  exists to schedule and conduct a Final Approval Hearing, pursuant to Federal Rule of Civil

  Procedure 23(e), to assist the Court in determining whether to grant Final Approval of the

  Settlement and enter the Final Approval Order, and whether to grant Class Counsel’s Fee

  Application and request for a Service Award for Plaintiff; and (8) the other related matters

  pertinent to the Preliminary Approval of the Settlement should also be approved.

         Based on the foregoing, IT IS HEREBY ORDERED AND ADJUDGED as follows:

         1.      As used in this Preliminary Approval Order, unless otherwise noted, capitalized

  terms shall have the definitions and meanings accorded to them in the Settlement.

         2.      The Court currently has jurisdiction over the subject matter and Parties to this

  proceeding pursuant to 28 U.S.C. §§ 1331, 1332.

         3.      Venue is proper in this District.

     I. Provisional Class Certification and Appointment of Class Representative and Class
        Counsel

         1.      It is well established that “[a] class may be certified solely for purposes of

  settlement [if] a settlement is reached before a litigated determination of the class certification

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  issue.” Borcea v. Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal quotation marks

  omitted). In deciding whether to provisionally certify a settlement class, a court must consider

  the same factors that it would consider in connection with a proposed litigation class – i.e., all Rule

  23(a) factors and at least one subsection of Rule 23(b) must be satisfied – except that the Court

  need not consider the manageability of a potential trial, since the settlement, if approved, would

  obviate the need for a trial. Id.; Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).

         2.         The Court finds, for settlement purposes, that the Federal Rule of Civil Procedure

  23 factors are present, and that certification of the proposed Settlement Class is appropriate under

  Rule 23. The Court therefore provisionally certifies the following Settlement Class.

         (1) All persons within the United States (2) who were sent a text message; (3)
         by or on behalf of Defendant; (4) on their mobile telephone; (5) from October
         1, 2015 through the date of final approval; (6) using the text messaging
         platform operated by Stodge, LLC d/b/a Postscript.

  Excluded from the Settlement Class are: (1) the trial judge and magistrate judge presiding over

  this case; (2) Colourpop, as well as any parent, subsidiary, affiliate, or control person of Colourpop,

  and the officers, directors, agents, members, managers, servants, or employees of Colourpop; (3)

  any of the Released Parties; (4) the immediate family of any such person(s); and (5) Plaintiff’s

  Counsel, their employees, and their immediate family.

         3.         Specifically, the Court finds, for settlement purposes only and conditioned on final

  certification of the proposed class and on the entry of the Final Approval Order, that the Settlement

  Class satisfies the following factors of Federal Rule of Civil Procedure 23:

              (a)      Numerosity: In the Action, approximately 254,417 individuals are members of

  the proposed Settlement Class. The proposed Settlement Class is thus so numerous that joinder of

  all members is impracticable.

              (b)      Commonality: “[C]ommonality requires the plaintiff to demonstrate that the

  class members ‘have suffered the same injury,’” and the plaintiff’s common contention “must be

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  of such a nature that it is capable of classwide resolution – which means that determination of its

  truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

  stroke. Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011) (citation omitted). Here, the

  commonality requirement is satisfied. Multiple questions of law and fact centering on Defendant’s

  class-wide practices are common to the Plaintiff and the Settlement Class, are alleged to have

  injured all members of the Settlement Class in the same way, and would generate common answers

  central to the viability of the claims were this case to proceed to trial.

               (c)    Typicality: The Plaintiff’s claims are typical of the Settlement Class because

  they concern the same alleged Defendant’s practices, arise from the same legal theories, and allege

  the same types of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied. See Kornberg

  v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality satisfied where

  claims “arise from the same event or pattern or practice and are based on the same legal theory”);

  Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are typical of the class

  where they “possess the same interest and suffer the same injury as the class members”).

              (d)     Adequacy: Adequacy under Rule 23(a)(4) relates to: (1) whether the proposed

  class representatives have interests antagonistic to the class; and (2) whether the proposed class

  counsel has the competence to undertake the litigation at issue. See Fabricant v. Sears Roebuck,

  202 F.R.D. 310, 314 (S.D. Fla. 2001). Here, Rule 23(a)(4) is satisfied because there are no

  conflicts of interest between Plaintiff and the Settlement Class, and Plaintiff has retained

  competent counsel to represent her and the Settlement Class. Class Counsel regularly engage in

  consumer class litigation, complex litigation, and other litigation similar to this Action, and have

  dedicated substantial resources to the prosecution of the Action. Moreover, the Plaintiff and Class

  Counsel have vigorously and competently represented the Settlement Class in the Action. See




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  Lyons v. Georgia-Pacific Corp. Salaried Employees Rel. Plan, 221 F.3d 1235, 1253 (11th Cir.

  2000).

                (e)   Predominance and Superiority: Rule 23(b)(3) is satisfied because the common

  legal and alleged factual issues here predominate over individualized issues, and resolution of the

  common issues for the members of the Settlement Class in a single, coordinated proceeding is

  superior to thousands of individual lawsuits addressing the same legal and factual issues. With

  respect to predominance, Rule 23(b)(3) requires that “[c]ommon issues of fact and law . . . ha[ve]

  a direct impact on every class member’s effort to establish liability that is more substantial than

  the impact of individualized issues in resolving the claim or claims of each class member.” Sacred

  Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1170 (11th

  Cir. 2010) (internal quotation marks omitted).     Here, common questions present a significant

  aspect of the case and can be resolved for all members of the Settlement Class in a single

  adjudication. In a liability determination, those common issues would predominate over any issues

  that are unique to individual members of the Settlement Class. Moreover, each member of the

  Settlement Class has claims that arise from the same or similar alleged Colourpop practices as well

  as the same legal theories.

           4.     The Court appoints Plaintiff Anita Jairam as Class Representative.

           5.     The Court appoints Ignacio J. Hiraldo of IJH Law and Manuel S. Hiraldo of Hiraldo

  P.A. as Class Counsel.

           6.     The Court recognizes that Defendant reserves all of its defenses and objections

  against and rights to oppose any request for class certification in the event that the proposed

  Settlement does not become Final for any reason. Defendant also reserves its defenses to the

  merits of the claims asserted in the event the Settlement does not become Final for any reason.




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     II. Preliminary Approval of the Settlement

         1.      At the preliminary approval stage, the Court’s task is to evaluate whether the

  Settlement is within the “range of reasonableness.” 4 Newberg on Class Actions § 11.26.

  “Preliminary approval is appropriate where the proposed settlement is the result of the parties’

  good faith negotiations, there are no obvious deficiencies and the settlement falls within the range

  of reason.” Smith v. Wm. Wrigley Jr. Co., No. 09–60646–CIV, 2010 WL 2401149, at *2 (S.D.

  Fla. Jun. 15, 2010). Settlement negotiations that involve arm’s length, informed bargaining with

  the aid of experienced counsel support a preliminary finding of fairness. See Manual for Complex

  Litigation, Third, § 30.42 (West 1995) (“A presumption of fairness, adequacy, and reasonableness

  may attach to a class settlement reached in arm’s-length negotiations between experienced, capable

  counsel after meaningful discovery.”) (internal quotation marks omitted).

         2.      The Court preliminarily approves the Settlement, together with all exhibits thereto,

  as fair, reasonable, and adequate. The Court finds that the Settlement was reached in the absence

  of collusion, is the product of informed, good-faith, arm’s-length negotiations between the Parties,

  and their capable and experienced counsel. The Court further finds that the Settlement, including

  the exhibits thereto, is within the range of reasonableness and possible judicial approval, such that:

  (a) a presumption of fairness is appropriate for the purposes of preliminary settlement approval;

  and (b) it is appropriate to effectuate notice to the Settlement Class, as set forth below and in the

  Settlement, and schedule a Final Approval Hearing to assist the Court in determining whether to

  grant Final Approval to the Settlement and enter a Final Approval Order.

     III. Approval of Class Notice and the Claims Process

         1.      The Court approves the form and content of the Class notices, substantially in the

  forms attached to the Settlement, as well as the Claim Form attached thereto. The Court further

  finds that the Class Notice program described in the Settlement is the best practicable under the


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  circumstances. The Class Notice program is reasonably calculated under the circumstances to

  inform the Settlement Class of the pendency of the Action, certification of a Settlement Class, the

  terms of the Settlement, Class Counsel’s attorney’s fees application and the request for Service

  Award for Plaintiff, and their rights to opt-out of the Settlement Class or object to the Settlement.

  The Class notices and Class Notice program constitute sufficient notice to all persons entitled to

  notice. The Class notices and Class Notice program satisfy all applicable requirements of law,

  including, but not limited to, Federal Rule of Civil Procedure 23 and the Constitutional

  requirement of Due Process.

         2.      KCC shall serve as the Administrator.

         3.      The Administrator shall implement the Class Notice program, as set forth below

  and in the Settlement, using the Class notices substantially in the forms attached to the Settlement

  and approved by this Preliminary Approval Order. Notice shall be provided to the members of the

  Settlement Class pursuant to the Class Notice program, as specified in the Settlement and approved

  by this Preliminary Approval Order. The Class Notice program shall include, to the extent

  necessary, E-Mail Notice, Publication Notice, and Long-Form Notice, as set forth in the Settlement

  and below.

         E-Mail and Publication Notice

         4.      The Administrator shall administer E-Mail and Publication Notice as set forth in

  the Settlement. E-Mail and Publication shall be completed no later than forty-five (45) days before

  the Final Approval Hearing.

         Settlement Website

         5.      The Administrator shall establish a Settlement Website as a means for Settlement

  Class members to obtain notice of, and information about, the Settlement. The Settlement Website

  shall be established as soon as practicable following Preliminary Approval, but no later than before


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  commencement of the Class Notice program.           The Settlement Website shall include to the

  Settlement, the Long-Form Notice, the Preliminary Approval Order, and other such documents as

  Class Counsel and counsel for Defendant agree to include. These documents shall remain on the

  Settlement Website until at least sixty (60) days following the Claim Deadline.

         6.      The Administrator is directed to perform all substantive responsibilities with

  respect to effectuating the Class Notice program, as set forth in the Settlement.

         7.      The Administrator shall prepare and send all notices required by the Class Action

  Fairness Act, 28 U.S.C. § 1715, et seq (“CAFA”).

     IV. Final Approval Hearing, Opt-Outs, and Objections

         1.      A Final Approval Hearing shall be held before this Court on Monday September

  21, 2020 at 9:30 A.M. to determine whether to grant Final Approval to the Settlement and to enter

  a Final Approval Order, and whether Class Counsel’s Fee Application and request for a Service

  Award for the Class Representative should be granted.

         2.      Any person within the Settlement Class who wishes to be excluded from the

  Settlement Class may exercise their right to opt-out of the Settlement Class by following the opt-

  out procedures set forth in the Settlement and in the Notices at any time during the Opt-Out Period.

  To be valid and timely, opt-out requests must be completed in accordance with the Settlement and

  Notice, verified, and received on or before the last day of the Opt-out Period, which is 30 days

  before the Final Approval Hearing (“Opt-Out Deadline”), and mailed to the addresses indicated in

  the Long Form Notice.

         3.      Any Settlement Class Member may object to the Settlement, Class Counsel’s Fee

  Application, or the request for a Service Award for Plaintiff. Any such objections must be mailed

  to the Clerk of the Court, Class Counsel, and Colourpop’s Counsel, at the addresses indicated in

  the Long-Form Notice. For an objection to be considered by the Court, the objection must be


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  postmarked no later than 30 days before the Final Approval Hearing, as set forth in the Notice. To

  be valid, an objection must include the following information:

         a. the name of the Action;

         b. the objector’s full name, address, and telephone number;

         c. an explanation of the basis upon which the objector claims to be a Settlement Class

             Member;

         d. all grounds for the objection, accompanied by any legal support for the objection

             known to the objector or his counsel;

         e. the number of times in which the objector has objected to a class action settlement

             within the five years preceding the date that the objector files the objection, the caption

             of each case in which the objector has made such an objection, and a copy of any orders

             related to or ruling upon the objector’s prior such objections that were issued by the

             trial and appellate courts in each listed case;

         f. the identity of all counsel who represent the objector, including any former or current

             counsel who may be entitled to compensation for any reason related to the objection to

             the Settlement or Fee Application;

         g. a copy of any orders related to or ruling upon counsel’s or the counsel’s law firm’s

             prior objections made by individuals or organizations represented by that were issued

             by the trial and appellate courts in each listed case in which the objector’s counsel

             and/or counsel’s law firm have objected to a class action settlement within the

             preceding 5 years the objector’s counsel;

         h. any and all agreements that relate to the objection or the process of objecting— whether

             written or oral—between objector or objector’s counsel and any other person or entity;




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            i.   the identity of all counsel (if any) representing the objector who will appear at the Final

                 Approval Hearing;

            j.   a statement confirming whether the objector intends to personally appear and/or testify

                 at the Final Approval Hearing;

            k. a list of all persons who will be called to testify at the Final Approval Hearing in support

                 of the objection; and

            l.   the objector’s signature (an attorney’s signature is not sufficient).

      V.         Further Papers in Support of Settlement and Attorney’s Fee Application

            1.         Plaintiff and Class Counsel shall file their Motion for Final Approval of the

   Settlement, Fee Application and request for a Service Award for Plaintiff, and proposed orders, by

   no later than August 24, 2020.

            2.         Plaintiff and Class Counsel shall file their responses to timely filed objections to

   the Motion for Final Approval of the Settlement, the Fee Application and/or request a Service

   Award for Plaintiff no later than September 7, 2020.

      VI.        Effect of Failure to Approve Settlement

            1.         If the Settlement is not finally approved by the Court, or for any reason the Parties

   fail to obtain a Final Approval Order as contemplated in the Settlement, or the Settlement is

   terminated pursuant to its terms for any reason, then the following shall apply:

                  (a)         All orders and findings entered in connection with the Settlement shall

   become null and void and have no further force and effect, shall not be used or referred to for any

   purpose whatsoever, and shall not be admissible or discoverable in any other proceeding;

                 (b)          Nothing in this Preliminary Approval Order is, or may be construed as, any

   admission or concession by or against Colourpop or Plaintiff on any point of fact or law; and

                  (c)         Neither the Settlement terms, any documents exchanged or disclosed by the


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   Parties to each other for settlement purposes, nor any publicly disseminated information regarding

   the Settlement, including, without limitation, the Class Notice, court filings, orders and public

   statements, may be used as evidence or otherwise referenced or referred to in any future

   proceeding. In addition, neither the fact of, nor any documents relating to, either Party’s

   withdrawal from the Settlement, any failure of the Court to approve the Settlement and/or any

   objections or interventions, may be used as evidence.

      VII.     Stay/Bar of Other Proceedings

          1.      All proceedings in the Action are stayed until further order of the Court, except as

   may be necessary to implement the terms of the Settlement. Pending final determination of

   whether the Settlement should be approved, Plaintiff, all persons in the Settlement Class, and

   persons purporting to act on their behalf (including any attorneys) are enjoined from threatening,

   commencing or prosecuting (either directly, representatively or in any other capacity) against any

   of the Released Parties any action or proceeding in any court, arbitration forum or tribunal asserting

   any of the Released Claims.

          2.      Based on the foregoing, the Court sets the following schedule for the Final

   Approval Hearing and the actions which must take place before and after it:

                             Event                                              Date

    Deadline for Completion of Notice                          August 10, 2020


    Deadline for filing Motion for Final Approval of the       August 24, 2020
    Settlement and Class Counsel’s Fee Application and
    expenses, and for a Service Award


                                                               August 24, 2020
    Deadline for opting-out of the Settlement and for
    submission of Objections




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    Deadline for Responses to Objections                    September 7, 2020


    Final Approval Hearing                                  September 21, 2020 at 9:30 A.M.


    Last day Class Claimants may submit a Claim Form        October 5, 2020


          DONE AND ORDERED in Fort Lauderdale, Florida, this 5th day of May, 2020.



                                                           _________________________________
                                                           RODOLFO A. RUIZ II
                                                           UNITED STATES DISTRICT JUDGE




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